Case 3:18-cv-OOO44-FI\/| Document 26 Filed 12/18/18 Page 1 ot 20

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

EL PASO DIVISION
MICHAEL JOHNSON, §
Plaintiff, §
v. § EP-lS-CV-00044-FM
PRIDE IN]]USTRIES, INC., §
])efendant. §

ORDER GRANTING MOTION FOR SUMlV[ARY JUDGMENT

- Bef`ore the court is “Defendant’s Motion for Traditional Summary Judgment” (“Motion”)
[ECF No. 17], filed 0ctober 4, 2018 by PRIDE Industries, Inc. (“PRIDE”); “Plaintiff’ s Response
to Defendant’s Motion for Traditional Surnmary .1 udgment” (“Response”) [ECF No. 20], filed

October 22, 2018 by Michael Johnson (“Plaintiff”); and “Def`endant’s Reply in Support of its

Motion f`or Traditional Sumlnary Judgrnent” (“Reply”) [ECF No. 25], filed November 14, 2018.

This case involves alleged racial discrimination and retaliation for engaging in protected activity
in violation of Title VII. After due consideration of the l\/,[otion, Response, Reply, and applicable
law, the Motion is GRANTED.
I. BACKGROUND

A. F actual Background

PRIDE Industries, Inc. is a non-profit entity that operates federal service contracts under

the Javitts-Wagner-O’Day Act (“JWOD”), also known as the AbilityOne Program.l lt requires

 

1 “Defendant’s Motion for Traditional Surnmary Judgment” (“Mot.”), ECF No. 17, filed Oct. 4, 2018,
“Affidavit ofKathJ'yn Strawder” (“Strawder Aff.”) 1 11 3, EX. B.

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Case 3:18-cv-OOO44-FI\/| Document 26 Filed 12/18/18 Page 2 ot 20

75% of the labor to be performed by individuals Who are blind or severely disabled2 PRIDE has
a contract with the United States Army at Fort Bliss to provide facilities maintenance.3

Plaintiff`, who is African-American, was hired as a General Maintenance Worker on
March 9, 2015.4 On May 28, 2016, Plaintiff was promoted to Carpenter.5 In February 2017,
Plaintiff applied and interviewed for a supervisory carpentry position6 PRIDE instead selected
Gary Koenemann and Rafael Perez for the positions7

As a preliminary matter, the court notes that the record is often unclear about When
certain incidents occurred. Plaintif`f describes a continuing environment of` harassment f`or an _
unspecified amount of time.

However, Plaintiff` has submitted a handful of written complaints The record contains a
statement drafted by Plaintiff and dated February 3, 2017.8 Therein, Plaintiff` informed PRIDE
that his “truck is being tampered with.”9 He reported that a bottle of medicine, batteries f`rom his

drill, and a work truck key Were missing10 He also pointed to a screw sticking out of` his right

 

2 Id.

3 Id.

4 Id. at 2 11 4; see also Mot., “Affidavit of Ronda Davenport” (“Davenport Af`f.”) l 11 4, ECF No. 17-3, filed
Oct. 4, 2018; “Plaintiff"s Response to Defendant’s Motion for Traditional Summary Judgment” (“Resp.”),

“Employee New Hire Verification Form,” Ex. 1.

5 Resp., “Job Change Acknowledgment,” Ex. 6; see also Mot., “Oral and Videotaped Deposition of Michael
Johnson” (“Johnson Depo.”) 38: 13-25, ECF No. 17-1; Strawder Aff. 2 ‘11 4.

` 6 Strawder Aff. 2 11 5 . lt is not clear nom the record if` there were two supervisory carpentry positions. Since
two individuals were selected, the court presumes there Were two open positions

7Id.
8 See Resp., Ex. 10.
QId.

10 ltd

 

Case 3:18-cv-00044-FI\/| Document 26 Filed 12/18/18 Page 3 ot 20

rear tire.11 Plaintiff wrote, “l feel threatened for my life to work and stressed to work my 9-5
working construction job but have to risk my life . . . .”12
On February 15, 2017, Plaintiff filed another complaint to human resources13 There, he
stated that an employee informed him that another employee had been watching and pointing in
his direction.l4 Plaintiff spoke about that occurrence with his supervisor and expressed that he
had been continually harassed since his first day of work.15 Plaintiff submitted another statement
to PRIDE, dated February 22, 201'1.16 I-Ie wrote that he “found a magazine clip loaded with
Dummy Rounds located on the back of my bumper of work truck C-l68.”17
On February 27, 2017, Plaintiff` filed an EEOC complaint alleging (1) discrimination
based on race and disability and (2) retaliation 18 Plaintiff claimed that luan Palomares
(“Palomares”), a PRIDE employee, discriminated against him since January 1, 2016.19
,,20

Specifically, Plaintiff alleged that Palomares called him “boy,” “pinchi mayate,” and “manos.

Plaintiff claims he reported the harassment to his supervisor, Armando Morales, as it occurred21

 

11 Id. (also stating that his truck had a flat tire the following day after he had found the screw in his tire).
12 Id
13 Resp., “Statement,” Ex. 9.
14 Ia’.
15 Id
116 See Resp., Ex. 11.
17101:
13 Mot., “Charge of Discrimination” (“EEOC Compl.”).
19 See id.
20 Id

21 Id

Case 3:18-cv-00044-FI\/| Document 26 Filed 12/18/18 Page 4 ot 20

Palomares allegedly “escalated the harassment and intimidation” in response.22 Plaintiff claimed
that he Was passed over for a supervisory position in favor of a l-Iispanic male.23 I-Ie also alleged
that his “Work and equipment has been sabotaged” following a complaint to human resources.24
Lastly, he pointed to the February 22, 2017 magazine incident.25 The EEOC dismissed his
charge on September 15, 2017.26

The Assistant Department Manager and Plaintiff’ s Vocational Rehabilitation Counselor
met with Plaintiff on September 30, 2017 to discuss attendance issues.27 During the meeting, he
resigned.z`8

Plaintiff filed this suit in the 327th District Court of El Paso County on December 14,
2017, alleging race discrimination and retaliation in violation of Title VII.29 PRIDE removed the

case to this court on February 5, 2018.30 On October 4, 2018, PRIDE moved for summary

judgment.31

 

22 ld_
23 Id'

24 Id.

25 Id.,' see also Mot., Ex. 11.

26 Mot., “Dismissal and Notice of Rights,” Ex. 23.

27 Davenport Aff. 3 11 S.

23 Id. at 3 11 9; see also Johnson Depo. 118: 3-121: 13.

29 “Notice of Removal” (“Not. Rem.”), ECF No. 1, filed Feb. 5, 2018, “Plaintiff’s Original Petition and
Request for Disclosure.”

30 See generallyy Not. Rem.

3§ See generally Mot.

 

Case 3:18-cv-00044-FI\/| Document 26 Filed 12/18/18 Page 5 ot 20-

B. Parties ’ Argumenrs

PRlDE argues summary judgment is appropriate on the following grounds: (1) Plaintiff` s
claims are not supported by the submitted summary judgment evidence, including his own
testimony”; (2) Plaintiff did not exhaust administrative remedies and therefore may not pursue a
claim of constructive discharge33; and (3) Plaintiff"s claims of discrimination and retaliation are
not supported by adequate evidence34

ln opposition, Plaintiff argues that a genuine dispute as to material facts precludes
summary judgment on his Title VII claims of discrimination and retaliation35 I-le contends he
has satisfactorily established he is a member of a racial minority, and material facts remain as to
Whether PRlDE discriminated against him based on race.36 Plaintiff argues that he was passed
over for a promotion, experienced retaliation and harassment, and was constructively discharged
as a result of reporting the alleged misconduct37
II. APPLICABLE LAW

A. Summary Judgment

Summary judgment is proper where the pleadings, discovery, and affidavits demonstrate

that there is “no genuine dispute as to any material fact and the movant is entitled to judgment as

a matter of law.”38 A dispute over a material fact is genuine “when there is evidence sufficient

 

3210'. at 5.
3310’. at 10.

34 Id. at 12.

35 Resp. 2.

35 Id. at 5.
3710'. at lO*ll.

33 FED. R. CIV. P. 56(a).

 

Case 3:18-cv-00044-FI\/| Document 26 Filed12/18/18 Page'6 ot 20

for a rational trier of fact to find for the non-moving party.”39 Substantive law defines Which
facts are material40

The party moving for summary judgment bears the initial_burden of identifying those
portions of the pleadings, discovery, and affidavits demonstrating the absence of a genuine issue
of material fact.41 When considering only admissible evidence in the pretrial record,42 the court
Will “view all facts in the light most favorable to the non-moving party” and draw all factual
inferences in the nonmovant’s favor.45 lf the moving party cannot demonstrate the absence of a
genuine issue of material fact, summary judgment is inappropriate44

Once the moving party has met its initial burden, the nonmoving party must go beyond
the pleadings and, by its own affidavits or discovery, set forth specific facts showing that there is
a genuine issue for trial.45 The nonmoving party’s burden is not satisfied by the raising of “some
metaphysical doubt as to the material facts, by conclusory allegations, by unsubstantiated
assertions, or by only a scintilla of evidence.”46 The court does not “in the absence of any proof
assume that the nonmoving party could or would prove the necessary facts.”47 When reviewing

the parties’ submissions, the court does not weigh the evidence or determine the credibility of the

 

59 Perez v. Regz'on 20 Educ. Serv. Clr., 307 F.3d 318, 323 (5th Cir. 2002) (citation omitted).

40 Ana'erson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

41Se.e Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).

42 Fowler v. sz'th, 68 F.3d 124, 126 (5th Cir. 1995).

45 Chearham v. Allstate Ins. Co., 465 F.3d 578, 5 82 (5th Cir. 2006) (per curiam) (citation omitted).
44 Tubacex, Inc. v. MVRz'san, 45 F.3d 951, 954 (5th Cir. 1995).

45 Celotex, 477 U.S. at 324 (internal quotation marks and citation omitted).

45 Lz`rtle v. Liquz'd Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994) (en banc) (per curiam) (internal quotation
marks and citations omitted).

47’ Icl. at 1075 (emphasis removed).

 

Case 3:18-cv-00044-FI\/| Document 26 Filed 12/18/18 Page 7 ot 20

witnesses.”48 Once the nonmovant has had the opportunity to make this showing, Sumrnary l
judgment will be granted “if no reasonable juror could find for the nonmovant.”49
III. DISCUSSION

A. l Racial Discrimination

l. Hostile Work Environment

Under Title Vll, a “hostile work environment exists when the Workplace is permeated
With discriminatory intimidation, ridicule, and insult, that is sufficiently severe or pervasive to _
alter the conditions of the victim’s employment and create an abusive work environment.”50 To
state a prima facie case of hostile work environment, a plaintiff must establish that: (1) he is a
member of a protected group; (2) he was subjected to unwelcome harassment; (3) the harassment
Was based on his membership in a protected class ; (4) the harassment affected a term, condition,
or privilege of employment; and (5) his employer knew or should have known of the harassment
and failed to take prompt remedial action.51 The parties do not dispute that Plaintif`f, who is
African-American, is 'a member of a protected group.

Plaintiff must show the harassment affected a term, condition, or privilege of
employment.52 For harassment to affect a term, condition, or privilege of employment, it must

be “sufficiently severe or pervasive to alter the conditions of the victim’s employment and create

 

45 Cabonf v. General Motors Corp., 278 F.3d 448, 451 (5th Cir. 2002) (citation omitted).

49 Idl

5° Stewart v. Miss. Transp. Comm 'n, 586 F.3d 321, 328 (5th Cir. 2009) (internal quotation marks omitted).
51 Ram.$‘ey v. Henderson, 286 F.3d 264, 268 (5th Cir. 2002).

52 See fa'.

 

 

Case 3:18-cv-00044-FI\/| Document 26 Filed 12/18/18 Page 8 ot 20

an abusive work environment.”53 The court does not view workplace conduct in isolation, but
considers the circumstances surrounding the alleged discriminatory conduct.54 “This includes `
the frequency of the discriminatory conduct; its severity; whether it is physically threatening or
humiliating, or a mere offensive utterance; and whether it unreasonably interferes with an
employee's work performance.”55 The work environment must be “both objectively and
Subjectively offensive, one that a reasonable person would find hostile or abusive, and one that
the victim in fact did perceive to be so.”56

Plaintiff contends a genuine dispute of material facts as to his racial discrimination claim
precludes summary judgment.57 The court does not agree.

a. Slars and Epiz‘hers

Plaintiff’s claim of hostile work environment is primarily based on the alleged use of

racial slurs and epithets.58 He testified that Palomares referred to him as “mayate.”59

..Specifically, Plaintiff recalled an incident where he was in an office with his supervisor, another

employee, and Palomares.60 Palomares and the other employee started speaking Spanish once he

 

55 Icl. (citation and quotation marks omitted).

54 Ia’. (quotation marks omitted).

55 Harra v. Forth Sys., rac., 510 U.s. 17, 23 ('1993).

56 Faragher v. Clty ofBoca Raton, 524 U.S. 775, 787 (1998).

57 Resp. 5.

55 See z`d. at 6-10.

59 lohnson Depo. 55: 19-23, ECF No. 17-1. “Mayate” is a pejorative in Mexican Spanish used to describe
black persons To be clear, it is similar in offensiveness to the n-word. The parties do not dispute this definition,

and the court applies this meaning throughout the order.

5° Ia'. at 55: 24-56: 21.

 

 

Case 3:18-cv-'00044-FI\/| Document 26 Filed 12/18/18 Page 9 ot 20

sat down and used the word “mayate” when discussing a recent job they had all completed
involving cement.61

Plaintiff also points to an affidavit by Raymond Yanez, a co-worker, in support.62
Therein, Yanez stated he “saw racial discrimination on a daily basis” by Palomares against
non-Hispanics.63 l-le further stated that, while he does not remember each incident, he heard
Palomares refer to African-Americans as “pinchis mayates,” meaning “f****** n*****s,” as
well as “pinchis negros,” meaning “f"‘***** blacks.”64 Yanez testified that Palomares used these
terms when discussing jobs or the people who h`ad certain tools, including Plaintiff.65

The use of the word “mayate” is reprehensible, and the court does not take use of this
word lightly. lt is a pej orative in Mexican Spanish, derived from the Nahuatl word, “mayatl.”66
“Mayate” is an extremely derisive and offensive term used to describe black people and has the
same taboo status as the n-word. l\/lexican Spanish is widely spoken in El Paso, and the use of
such a term cannot be -ignored. The parties do not dispute this understanding l

However, the sole use of racial slurs, including the n-Word, is not in itself enough to

establish a prima facie case of hostile work environment based on race.67 ln Johnson v. TCB

 

611¢1'. at 572 18~58: ll.
62 Resp. 6.

55 Resp., “Affidavit of Raymond Yanez” (“Yanez Aff.”) 1, Ex. B. (“The entire time I worked at Pride
lndustries l saw racial discrimination on a daily basis by a Hispanic Supervisor Juan Palomares against non-Hispanics,
such as Michael Johnson, who is African American, and against Caucasians.”).

64 Id

65 Id.

66 Mayate, REAL ACADEMIA EsPANoLA, rae.es (2018).

57 See Johnson v. TCB Const. Co., lnc., 334 Fed. App’x. 666, 671 (5th Cir. 2009) (unpublished); see also
Walls v. Tarano Banlclng Co., 221 F. Supp.2d 924, 929-31 (N.D. lll. 2002) (finding that single incident of the use of

the n-word in conversation with third party in other cubicle, combined with the supervisor’s use of nonracial abusive
language and undetailed claims of coworkers slurs, was insufficient to allege hostile Work environment); Talley v.

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Case 3:18-cv-00044-FI\/| Document 26 Filed 12/18/18 Page 10 ot 20

Construcrion Company, Inc. ,55 the Fifth Circuit found the plaintiff failed to offer sufficient
evidence of harassment, where an employee referred to the plaintiff as a “damn n****""’ in an
isolated incident.69 The Fifth Circuit noted that despite the employee’s frequent use of the
n-word, it was not uttered in the plaintist presence.70 lndeed, courts have found that such
second-hand harassment carries less weight than harassment directed at a plaintiff.7l Here, one
specific incident where “mayate” was not directed at Plaintiff and a vague statement by a
colleague that the slur was frequently used holds little evidentiary weight.72

Plaintiff also claims the words “Manos” and “Mijo” were used in a discriminatory
manner.73 “Manos” means “hands” in Spanish,74 and Palomares would regularly refer to
Plaintiff as “Manos.”75 Plaintiff claims he was called “Manos” in a patronizing manner because

his hands are big.76 Although Plaintiff found the nickname “Manos” offensive,77 “Manos” is not

 

Farrell, 156 F. Supp. 2d 534, 541 (D. Md. 2001) (plaintiff failed to establish prima facie case of hostile work
environment where plaintiff alleged incident involving cold medicine and an accompany note reading “sick n****”).

55 TCB Consf. Co., Inc., 334 Fed. App’X. at 671.

69 Id

7" Icl.

77 Ia’.; see also Moser v. Indiana Dep 't of Corrs., 406 F.3d 895, 903 (7th Cir. 2005); Jennings v. Unz'v. of
N.C., 444 F.3d 255, 272 (4th Cir. 2006); Vltal v. Nat’l Oilwell Var‘co, No. H-12-1357-LHR, 2014 WL 4983485
(Sept. 30, 2014 S.D. Tex.).

72 TCB Const. Co., Inc., 334 Fed. App’x at 671.

75 Resp. 6-7.

14 Mano, REAL ACADEMIA EsPANoLA, rae.es (2018).

75 .lohnson Depo. 48:20-49.'14.

75 Id. at 1492 17-24.

77 Id. at 52: 4-12.

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Case 3:18-cv-00044-FI\/| Document 26 Filed 12/18/18 Page 11 ot 20

an inherently offensive or derogatory terrn. lt is not objectively offensive, that is, “one that a
reasonable person would find hostile or abusive.”78 g

Plaintiff equates “Mijo” to the racially charged use of “boy” in a belittling fashion.79
“Mijo” (a contraction of “mi hijo” in Mexican Spanish) is commonly used as a term of
endearment, meaning “my son,” “sweetheart,” “honey,” or “dear.”750 The court is mindful that,
although “Mijo” does not appear to be offensive on its face, it could be construed as demeaning.
However, Plaintiff offers no evidence that Palomares’ use of “Mijo” was based on race. Like
“Manos,” the term is not objectively offensive.“ While the court does not look at the use of these
words in isolation, the use of these words holds little evidentiary weight of racial discrimination
The court also considers the other alleged incidents

b. Other Allegeal Incidents

The record also contains other incidents, including the leaving of the magazine on the
bumper of the truck and the tampering with his work truck and supplies81 The magazine
incident and the alleged tampering of his work truck occurred within the same month, February
2017, and were shortly after Plaintiff made multiple complaints At best, Plaintiff has shown
that, during the same month he applied for a supervisory position, these alleged discriminatory
actions occurred However, Plaintiff has not presented evidence to show these incidents are

connected to racial discrimination This is insufficient to establish racial discrimination under

Title VII.

 

73 Far'agher' v. City ofBoca Raton, 524 U.S. 775, 787 (1998).
79 See Johnson Depo. 46: 5-14.

30 Mn‘o, WoRDREFERENCE.CoM, http:l/www.wordreference.com/es/en/translation.asp?spen=mijo
(last visited Dec. 3, 2018).

57 See Resp., Ex. 10; Resp., Ex. ll.

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Case 3:18-cv-00044-FI\/| Document 26 Filed 12/18/18 Page 12 ot 20

Plaintiff claims he was discriminated against throughout the record, but he is unable to
point to anything more than ethereal harassment He presents no evidence besides his own “say
so.” The few detailed accounts he does point to hold little, if any, evidentiary weight. When
considering “all of the circumstances surrounding the alleged discriminatory conduct,” Plaintiff
has not provided sufficient evidence showing he was subjected to severe or pervasive
harassment82 Accordingly, Plaintiff has not established a prima facie case of racial
discrimination, and his Title VII claim of hostile work environment fails.

2. Failure to Promote

To survive summary judgment under the McDonnell Douglas burden-shifting analysis,
the plaintiff must first establish a prima facie cause of discrimination83 To establish a prima
facie case of discrimination in a failure to promote cause, a plaintiff must show: “(1) that thel
employee is a member of the protected class; (2) that he sought and was qualified for the
position; (3) that he was rejected for the position; and (4) that the employer continued to seek or
promoted applicants with the plaintiff’s qualifications.”54 The burden subsequently “shifts to the
employer to articulate a legitimate, nondiscriminatory reason for the underlying employment
action.” 55 lf the employer provides a legitimate rationale, the plaintiff must provide adequate

evidence to show the reason is mere pretext for racial discrimination86

 

37 See Stewart v. Miss. Transp. Comm ’n, 586 F.3d 321, 328 (5th Cir. 2009) (internal quotation marks
omitted).

55 See Daw`s v. Dallas Area Rapz`cl Transit, 383 F.3d 309, 316-17 (5th Cir. 2004) (citing McDonnell Doaglas
Corp. v. Green, 411 U.S. 792, 802 (1973)).

54 Id. at 317.
85 Id

86 Ia'l

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Case 3:18-cv-00044-FI\/| Document 26 Filed 12/18/18 Page 13 ot 20

The parties do not dispute that: (1) Plaintiff is a member of a protected group; (2) he
sought and was qualified for the position; and (3) he was rejected for the position. This claim
7 hinges on the fourth prong--Whether PRIDE promoted applicants with Plaintiff’s qualifications
PRIDE contends summary judgment is appropriate, claiming Plaintif “cannot identify

how he was qualified or what the qualifications of the selected persons were.”57 Even if Plaintiff

did so, PRIDE contends it selected two better-qualified candidates due to their “prior supervisory

and management experience.”sg_ In opposition, Plaintiff argues he is qualified for the position, as
he previously owned his own construction company.779 Plaintiff further points out that PRIDE
selected a Hispanic male who had not previously worked in that department.90

Plaintiff’ s claim of failure to promote must fail, as he has not provided sufficient
evidence showing the employer promoted candidates with equal qualifications At best, the
record is vague as to the position’s qualifications Plaintiff’s qualifications and the promoted
individuals’ qualifications Indeed, Plaintiff appears to not know anything about the other
candidates’ qualifications and fails to point to any evidence that might shed light.91 His sole
evidence that he was qualified is that he owned a construction company.92 This does not show
that he had equal qualifications His assertion of equal qualifications is conclusory and

speculative Even when drawing all factual inferences in favor of Plaintiff, he has not carried his

 

77 Mot. 12.

99 Id. at 12-13.

59 Resp. 11.

90 Id,

97 Johnson Depo. 109: 21~110: 14.

97 Id. at 23: 10-24.

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Case 3:18-cv-00044-FI\/| Document 26 Fi`|ed 12/18/18 Page 14 ot 20

burden to show PRIDE promoted candidates with equal qualifications Consequently, Plaintiff
has not established a prima facie case of racial discrimination for failure to promote. Summary
judgment is appropriate on this claim.
3. Constructive Discharge

To succeed in a constructive discharge claim, an employee “must offer evidence that the
employer made the employee’s Work conditions so intolerable that a reasonable employee would
feel compelled to resign.”93 The evidence must demonstrate a greater severity or pervasiveness
of harassment than the minimum required to prove a hostile work environment.94 As discussed
above, Plaintiff failed to demonstrate a prima facie case of hostile work environment on the basis
of racial discrimination ln other words, he failed to show that he experienced sufficiently
pervasive or severe harassment; he was therefore not subjected to a constructive discharge
Accordingly, the court grants summary judgment on Plaintiff’ s constructive discharge claim.

B. Reta_liatz`on]?)r Engaging in ProtectedActivily

1. Whether Plaintiff Exhausted Administra`tive Remedies for Constructive
Discharge

 

PRlDE asserts that Plaintiff may not pursue a claim for constructive discharge on the
grounds that he did not exhaust his administrative remedies.95 In opposition, Plaintiff contends
he was not required to file a second EEOC charge, “as the constructive discharge occurred after,

and as a result of, the filing of his one and only Charge of Discrimination.”96

 

95 Stover v. Hattlesburg Pub. Sch. Dist., 549 F.3d 985, 991 (5th Cir. 2008) (citing Brown v. Bunge Corp.,
207 F.3d 776, 782 (5th Cir. 2000).

94 far
95 Mot. 1().

95 Resp. 23.

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Case 3:18-cv-00044-FI\/| Document 26 Filed 12/18/18 Page 15 ot 20

“Title Vll of the Civil Rights act provides for private causes of action arising out of
employment discrimination and gives federal courts subject matter jurisdiction to resolve such
disputes.”97 A plaintiff must first exhaust administrative remedies by filing a charge of
discrimination with the Equal Employment Opportunity Commission (_“EEOC”) within 180 days
of any such misconduct.975 If a plaintiff raises a claim beyond those alleged in the EEOC 7
complaint, “the scope of a Title VII suit extend[s] as far as, but no further than, the scope of the
EEOC investigation which could reasonably grow out of the administrative charge.”99 The Fifth
Circuit has explained that a Title Vll cause of action:

may be based, not only upon the specific complaints made by the employee's initial

EEOC charge, but also upon any kind of discrimination like or related to the

charge's allegations limited only by the scope of the EEOC investigation that could

reasonably be expected to grow out of the initial charges of discrimination.700
As established in the Fifth Circuit’s decision, Gupta v. East Texas State Universily,797 “it is
unnecessary for a plaintiff to exhaust administrative remedies prior to urging a retaliation claim

growing out of an earlier charge; the district court has ancillary jurisdiction to hear such a claim

when it grows out of an administrative charge that is properly before the court.”702

 

97 Davis v. Fort Beml Cly., 893 F.3d 300, 303 (5th Cir. 2018). ln its Motion, Defendant argues courts do
not have jurisdiction to consider Title VII claims where the aggrieved party has not exhausted administrative
remedies Mot. 10. The Fifth Circuit recently held in Davz's v. Fort Bena' County that the failure to exhaust
administrative remedies prior to bringing a Title VII claim is not a jurisdictional bar, but is simply a prerequisite to
suit. Davis, 893 F.3d at 303.

93 42 U.S.C. § 2000e-5(e)(1).

99 Fine v. GAF Chem. Corp., 995 F.2d 576, 578 (5th Cir. 1993).

799 Fellows v. Universal Resrauranfs, Inc., 701 F.2d 447, 451 (5th Cir. 1983).

777 654 F.2d 411 (5th Cir. 1981).

797 Id. at 414.

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Case 3:18-cv-00044-FI\/| Document 26 Filed 12/18/18 Page 16 ot 20

PRIDE relies on the unpublished Fifth Circuit decision Simmons-Myers v. Caesars
Enlertainment Corporati0n793 for the proposition that the Gupta exception does not apply when a
plaintiff brings both retaliation and discrimination claims.794 In Simmons-Myers, the plaintiff
sought the application of Gupta to her claim of retaliation and her claim for discrimination.795

Unlike Simmons-Myers, Plaintiff is not seeking the application of Gupta to a claim of
discriminationl Plaintiff already sought review of his racial discrimination claim and claim of
retaliation by the EEOC796; he now asserts constructive discharge as a part of his retaliation
claim. Simmons-Myers does not foreclose the applicability of Gupta to a retaliatory claim,
despite the presence of a claim of discrimination in the Suit. As Gupta instructs, this court.may
consider a claim which grows out of an administrative charge properly before the court.797

l-Iere, Plaintiff filed an EEOC charge, asserting he was subject to retaliation for engaging
in protected activity.798 l-lis claim of constructive discharge stems from that very same
retaliation claim. Accordingly, the Gupra exception applies, and Plaintiff may pursue his claim
of constructive discharge before this court.

2. Retaliation
To assert a prima facie case of retaliation, Plaintiff must establish: (1) he engaged in

protected activity; (2) an adverse employment action occurred; and (3) a causal link exists

 

103 515 F. App’x 269 (5th cir. 2013) (unpublished).
794 Mot. 11.
795 See Sfmmons, 515 Fed. App’x at 273.

796 EE`.OC Compl. (“l complained to my then supervisor Arrnando Morales (Hispanic) and Human Resources.
Nothing was done and .luan Palomares escalated the harassment and intimidation.”).

797 Gupta v. E. Tex. State Univ., 654 F.2d at 414.

799 See EEOC Compl.

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Case 3:18-cv-00044-FI\/| Document 26 Filed 12/18/18 Page 17 ot 20

between the protected activity and the adverse employment action. 799 To succeed in a
constructive discharge claim, an employee “must offer evidence that the employer made the
. employee’s work conditions so intolerable that a reasonable employee would feel compelled to
resign.”779 The evidence must demonstrate a greater severity or pervasiveness of harassment
than the minimum required to prove a hostile work environment.777
a. Protected Actl`vily

ln this case, Plaintiff clearly engaged in protected activity. An employee has engaged in
protected activity where he “has opposed any practice made an unlawful practice” under Title
Vll or he “has engaged in a charge, testified, assisted, or participated in any manner in an
investigation, proceeding, or hearing.”772 Plaintiff claims he made numerous complaints
regarding Palomares’ use of the terms “mayate,” “manos,” and “mijo”779; the following and
taking pictures of Plaintiff774; the tampering with his truck and other work supplies7 75; and the
leaving of the magazine on his bumper.776 ln addition to oral complaints, the record includes 7
three formal complaints and an EEOC complaint.777 Plaintiff has accordingly provided sufficient

evidence that he engaged in protected activity.

 

799 Turner v. Baylor Richardson Meal. Cir., 476 F.3d 337, 348 (5th Cir. 2007).

779 Stover v. Hattfesl)urg Pub. Sch. Dz`st., 549 F.3d 985, 991 (5th Cir. 2008).

777 Id.

777 42 U.S.C. 2000e-3(a); see also Long v. Easg’ield College, 88 F.3d 300, 304 (5th Cir. 1996).
779 Johnson Depo.`48: 11-19, 50: 7-51:16, 54:18~55:8, 59: 9-22, 61: 22~25.

774 Ia’. at67218~21.

775 See Ex. 10.

776 See Ex. ll.

777 See Ex. 8, Ex. 10, Ex. 11, EEOC Compl.

17

 

Case 3:18-cv-00044-FI\/| Document 26 Filed 12/18/18 Page 18 ot 20

b. Causality

To state a Title Vll retaliation claim, Plaintiff must establish a causal link between the
protected activity and the adverse employment action and harassment.7777 PRIDE argues the
retaliation claim must nevertheless fail, as Plaintiff failed to raise any evidence of a causal link
between the protected activity and the alleged adverse employment action_constructive
discharge.779 The court agrees

Plaintiff has not offered any evidence that the leaving of the magazine and interference
with his work supplies are connected to the filing of the complaints and thus resulted in
constructive discharge Such an inference is highly speculative

Nevertheless, temporal proximity can be used to establish a causal link where there is
circumstantial evidence. Courts regularly look to the timing between an employee’s protected
activity and the adverse action against him or her.779 The Supreme Court has explained that
“cases that accept mere temporal proximity . . . as sufficient evidence of causality to establish a
prima facie case uniformly hold that the temporal proximity must be ‘very close.”’727

The record contains numerous accounts of alleged actions motivated by discriminatory
animus and retaliation. However, there is not close temporal proximity to infer the constructive

discharge was a result of retaliation. Plaintiff resigned over six months following the last

 

779 Turner v. Baylor Richarals'on Mecl. Ctr., 476 F.3d 337, 348 (5th Cir. 2007).

779 “Defendant’s Reply in Support of its Motion for Traditional Summary Judgment” 7, ECF No. 25, filed
Nov. 14, 2018.

779 See Clark ny. Sch. Dz`st. v. Breeden, 532 U.S. 268, 273 (2001); see also Swanson v. General Services
Admi'n., 110 F.3d 1180, 1188 (5th Cir. 1997) (“Close timing between an employee’s protected activity and an

adverse action against him may provide the ‘causal connection’ required to make out a prima facie case of
retaliation.”).

727 Breeden, 532 U.S. at 273 (emphasis added).

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Case 3:18-cv-00044-FI\/| Document 26 Filed 12/18/18 Page 19 ot 20

reported incident, the one involving the magazine loaded with Dummy Rounds.727 Plaintiff does
not point to any other incidents that occurred during those six months Rather, Plaintiff claims-to
have been subjected to a “pattern of persistent racial harassment.”723 While the court is mindful
of the harmful effects of racial discrimination, this claim for constructive discharge is based on
retaliation for engaging in a protected activity_the filing of complaints This is not a claim for
constructive discharge on the basis of racial discrimination An alleged pattern of persistent
racial harassment is inapposite to this claim and does not preclude summary judgment
Moreover, Plaintiff’s testimony suggests he had other motives for his resignation He
stated that while he resigned five days following the dismissal of his EEOC complaint, he did not
resign because of the dismissal of his EEOC complaint.724 Plaintiff also claims PRlDE failed to
accommodate his medical condition by not allowing him to take a 10-15 minute break every two
hours725 and interfered with his ability to attend medical appointments.729 The record does not
reflect that Plaintiff resigned due to retaliatory activity, nor can this court infer causality per
temporal proximityl Accordingly, the court grants summary judgment as to Plaintiff’s claim of

retaliation

 

722 Se`e EX. 22.
775 Resp. 18.
77'4 Johnson Depo. 130: 7-15.
775 Id. at 126: 6-12.
726 I¢:l. at 125: 10-14.
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' Case 3:18-cv-00044-FI\/| Document 26 Filed 12/18/18 Page 20 ot 20

IV. CONCLUSION AND ORDER§

After careful consideration of the submitted Summary judgment evidence, the court
grants summary judgment on all claims Accordingly, “Defendant’s l\/lotion for Traditional
Sumrnary .ludgment” [ECF No. 17] is GRANTED.

S() ORDERED.

SIGNED this 7 ZF day of December, 2018.

 

FRANK MoN'rALvo
UNITED _sTATEs DISTRICT JUDGE

 

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